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                     UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF SOUTH CAROLINA


IN RE:                                                         C/A No. 17-03877-dd
Kelly A Hoyt                                                       Chapter 13


                                                           SETTLEMENT ORDER
                                                                  ON
                                                         MOTION FOR RELIEF FROM
                                     Debtor(s).             AUTOMATIC STAY


    This matter comes before the Court on the motion for relief from the automatic stay filed by
Wells Fargo Bank, NA, successor by merger to Wachovia Bank, NA ("Movant"). Movant has
waived any claim arising under 11 U.S.C. § 503(b) or § 507(b) and, in the event relief from the
automatic stay is granted due to Debtor(s)' default under the terms of this settlement order,
agreed that any funds realized from the disposition of its collateral in excess of all liens, costs,
and expenses will be paid to the trustee or bankruptcy estate. The chapter 13 trustee did not
object to the motion or has agreed to the settlement. The property serving as collateral which is
the subject of the motion is described as follows:

                      164 Jefferson Place, Columbia, South Carolina 29212

    As of February 23, 2018, Debtor has accrued a post petition arrearage in the amount of
$2,618.85. The post petition arrearage consists of:
       - Payments for the month(s) of 10/17 - 2/18 in the amount of $523.77 per month.
   Upon Movant's certification of the agreement of the parties, it is hereby ORDERED:

    Debtor shall continue to remit to Movant the regular post petition monthly payments
beginning March 1, 2018, and continuing thereafter in accordance with the terms of the loan
agreement and the chapter 13 plan.

   In addition to the regular post petition monthly payment set forth above, Debtor shall cure the
post petition arrearage of $2,618.85 as follows:
        - Pay $218.24 per month beginning April 1, 2018 for 11 months.
        - Pay final payment of $218.21 by March 1, 2019.

   Failure to make a payment within 20 days from its due date shall be considered a default
under the terms of this settlement order.

   Payments shall be paid directly to Movant at:
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                              Wells Fargo Home Mortggage
                              PO Box 14507
                              Des Moines, IA 50306

    In the event of a default under the terms of this Order, relief from stay may be provided
without further hearing upon the filing of an affidavit of default by Movant and the entry of the
proposed order by the Court. Movant may then proceed with its state court remedies against the
collateral, including sending any required notice to Debtor(s). This ex parte provision shall
expire and no longer be effective 24 months from the entry of this order.

   AND IT IS SO ORDERED.


 FILED BY THE COURT
     03/01/2018




                                                   David R. Duncan
                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina


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WE SO MOVE AND CONSENT:

/s/Travis E. Menk                              /s/ Daniel A. Stone
Attorney for Movant                            Attorney for Debtor
District Court I.D. 10686                      District Court I.D. 8077


CERTIFICATION:

    Debtor's counsel represents that prior to consenting to this settlement order, the payment
obligations set forth in this Order, including the amounts, method, and timing of payments, and
consequences of default were reviewed with and agreed to by the Debtor(s) or the party
obligated to pay.

/s/ Daniel A. Stone
Attorney for Debtor
District Court I.D. 8077
